               Case 1:14-vv-00763-UNJ Document 29 Filed 05/29/15 Page 1 of 2




                   In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                               No. 14-763V
                                           (Not to be published)


*************************
                                  *
AMANDA CALLAHAN, on               *
behalf of her minor child, J.B.,  *
                                  *
                      Petitioner, *
                                  *                                       Filed: May 7, 2015
               v.                 *
                                  *                                       Decision on Attorneys’
SECRETARY OF HEALTH AND           *                                       Fees and Costs
HUMAN SERVICES                    *
                                  *
                      Respondent. *
                                  *
*************************




                             DECISION (ATTORNEYS’ FEES AND COSTS)
       In this case under the National Vaccine Injury Compensation Program,1 I issued a
decision on April 29, 2015. On May 7, 2015, the parties filed a Stipulation of Facts Regarding
Final Attorneys’ Fees and Costs in this matter. The parties’ stipulation requests a total payment
of $13,500.00, representing all attorneys’ fees and costs.
        An award for fees and costs is appropriate at this time, pursuant to 42 U.S.C. § 300aa-
15(b) and (e)(1). Further, the proposed amounts seem reasonable and appropriate. Accordingly,
I hereby award the following attorneys’ fees and costs pursuant to 42 U.S.C. § 300aa-15(b) and
(e)(1):
           •        a lump sum of $1,500.00, in the form of a check payable jointly to petitioner,
                    Andrew D. Downing, and Hennelly & Steadman, PLC
           •        a lump sum of $12,000.00, in the form of a check payable jointly to petitioner,
                    Andrew D. Downing and Vann Cott & Talamante, PLLC.



1
    The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq. (2006).
           Case 1:14-vv-00763-UNJ Document 29 Filed 05/29/15 Page 2 of 2



       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.2

IT IS SO ORDERED
                                                                             /s/ George L. Hastings, Jr.
                                                                                 George L. Hastings, Jr.
                                                                                 Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing the
right to seek review.
